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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                       §
                                               §
versus                                         § CRIMINAL ACTION NO. 4:17-CR-118
                                               §
HOWARD GREGG DIAMOND (1)                       §
JORDAN BROOKE JOHNSON (2)                      §

                              AMENDED PRE-TRIAL ORDER

     This case is reset for Final Pre-Trial Conference on     November 5, 2018, at 9:00 a.m.
in Courtroom #105, United States Courthouse, 7940 Preston Road, Plano, Texas, Jury Selection
and Trial will commence after the Pre-Trial Conference and continuing thereafter.
                 16                                          November 5, 2018       43408


     The following deadlines shall apply in this case.

     October 1, 2018            Any motion to suppress evidence shall be filed with the court.


     October 15, 2018           Any motion for continuance shall be filed with the court.


     October 26, 2018           Counsel for the Government shall deliver to counsel for
                                Defendant(s) proposed jury instructions.


     October 15, 2018            Notification of a plea agreement shall be by email, hand delivery
      By 4:00 PM                or fax of a signed copy of the plea agreement and factual basis for
                                the plea. Notification that the case will proceed to trial may be by
                                email or telephone. After this deadline, no plea agreement will
                                be honored by the court, and Defendant may not receive a
                                points reduction for acceptance of responsibility.

     October 29, 2018           If the parties do not notify the Court of a plea agreement as
                                provided above, defense counsel shall deliver to counsel for the
                                Government any additional jury instructions desired by
                                Defendant(s). If two or more Defendants are represented by
                                separate counsel, their submission must be made jointly.

     October 29, 2018           Counsel for Defendant(s) and counsel for the Government shall
                                confer to determine which jury instructions can be agreed upon.
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     October 29, 2018         Parties shall file any motions in limine and any other pretrial
                              motions.


     October 29, 2018         Counsel for the Government and counsel for the Defendant(s) shall:



           A.   Jointly file agreed upon instructions;

           B.   Each file any proposed instructions that were not agreed upon, citing the
                authority for each instruction. (Any party seeking to file proposed jury
                instructions after the deadline may do so only with leave of Court.);

           C.   Each file any objections to the other’s proposed jury instructions. Objections
                must be written, specific, cite authority, and include any alternate instructions
                counsel deem more appropriate;

           D.   Each file proposed voir dire questions;

           E.   If counsel believes that a written response to a particular motion in limine is
                needed, file it as soon as possible;

           F.   Each provide the court a list of witnesses, a list of exhibits anticipated to be
                introduced during trial, and a copy of each marked exhibit. All exhibits to be
                used for trial shall be pre-marked numerically and in succession. (Groups of
                exhibits pertaining to the same subject matter, such as photos of same scene,
                may, at counsel’s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.)
                Counsel shall provide the Court the original and two (2) copies of each list and
                marked exhibit.
      .
      SIGNED at Beaumont, Texas, this 7th day of September, 2004.
      SIGNED at Beaumont, Texas, this 16th day of May, 2018.




                                       ________________________________________
                                                   MARCIA A. CRONE
                                            UNITED STATES DISTRICT JUDGE




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